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 8                                  UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
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                                                FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
13    ROZWADOWSKI and DIANA WOLFE,                             Case No. 1:09-cv-00430-AWI-GSA
      individually and on behalf of themselves and all
14    others similarly situated,
                                                               CLASS ACTION
                                       Plaintiffs,
15
      v.
                                                               ORDER GRANTING PLAINTIFFS’
16                                                             REQUEST TO SEAL DOCUMENTS
      DAIRYAMERICA, INC.,
17                                        Defendant.           AND FILE REDACTED VERSIONS

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      [1:09-cv-00430-AWI-GSA] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED VERSIONS
     Case 1:09-cv-00430-AWI-EPG Document 222 Filed 09/28/15 Page 2 of 2



 1             IT IS HEREBY ORDERED:

 2             This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and

 3    File Redacted Versions (“Request”) pursuant to Civil Local Rules 140 and 141.

 4             Upon consideration of the Request, the papers submitted in support and in opposition

 5    thereto, and good cause appearing, the Request is GRANTED.

 6             Accordingly, the Clerk of the Court is directed to file redacted versions of the following

 7    documents on the public docket and is further directed to file the unredacted versions of the

 8    documents under seal. Only the parties’ counsel of record and the Court and its staff shall have

 9    access to the unredacted document.

10             1.     Plaintiffs’ Memorandum in Support of Motion For Leave To File Second Amended

11    Consolidated Complaint; and

12             2.     Plaintiffs’ [Proposed] Second Amended Consolidated Complaint.

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      IT IS SO ORDERED.
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15    Dated:    September 28, 2015
                                                      SENIOR DISTRICT JUDGE
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      [1:09-cv-00430-AWI-GSA] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED VERSIONS
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